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AO 106 (Rey. 04/10) Application for a Search Warrant

 

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

3962 MIGRATION LANE, COLUMBUS, OHIO 43230, a
residence further described in Attachment A to the
Affidavit in support of this Application

APPLICATION FOR A SEARCH WARRANT

Case No. 2720 _ ny -/9 o.

eee SS

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that | have reason to believe that on the following person or property (identify the person or describe the

Pree Sh {Rainer ante Cc A faa porated herein by reference.

 

located in the Southern District of Ohio , there is now concealed (identify the
person or describe the property to be seized):
See Attachment B, which is fully incorporated herein by reference.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
evidence of a crime;
contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;
Ca person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. 922(g)(3) Possession of a firearm or ammunition by a prohibited individual, namely a person
who is an unlawful user of or addicted to any controlled substance under the
Controlled Substances Act

The a polaron is based on these facts: = |
See Affidavit in Support of the Application, which is fully incorporated herein by reference.

mt Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached s

c ut

C Mpplicant 's. signature

  
  

Teresa J. Fg tits
Sworn to before me and signed in my presence.

Date: [[-2v -W

City and state: Columbus, Ohio Chelsey

 

  
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

IN THE MATTER OF THE

APPLICATION OF THE UNITED Case No.
STATES OF AMERICA FOR SEARCH

OF 3962 MIGRATION LANE,

COLUMBUS, OHIO 43230

 

 

AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

I, Teresa J. Petit, a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), being duly sworn, depose and state as follows:
INTRODUCTION

1, I am an “investigative or law enforcement officer of the United States” within the
meaning of 18 U.S.C. § 2510(7), that is, an officer of the United States who is empowered by law
to conduct investigations of and to make arrests for offenses enumerated in 18 U.S.C. § 2516.

2. I am a Special Agent with ATF, and have been so since 2014, and I am currently
assigned to the Columbus, Ohio, Field Office.

3. I have participated in numerous investigations focusing on firearms trafficking,
gangs, and distribution of illegal narcotics. I have conducted covert surveillance of suspected
traffickers, interviewed numerous individuals involved in gangs and illegal firearm and/or narcotic
trafficking trade, been a member of surveillance teams, participated in the execution of numerous
state and federal search and arrest warrants involving firearm and/or illegal narcotic traffickers and
violent offenders, and participated in the seizure of numerous firearms and controlled dangerous
substances. Through my training, education and experience, I have become familiar with the
manner in which firearms intended for criminal use are transported, stored, and resold, similar to

the transportation, storage and distribution of illegal narcotics. I am also familiar with the methods
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of payment for such unlawful transfer of firearms and/or narcotics, the distribution manner, and
the manner in which firearm and/or narcotic traffickers communicate with each other.

4. The facts in this Affidavit come from my personal observations, my training and
experience, and information obtained from other agents, police officers, witnesses, telephone
records, and reports. This Affidavit is intended to show merely that there is sufficient probable
cause for the requested warrant and does not set forth all of my knowledge about this matter.

5. Based on the facts set forth in this Affidavit, there is probable cause to believe that:

a. ABDULWAHAB SHARIF MOHAMED HASSAN, aka China (referred to
in this Affidavit as HASSAN), has committed violations of, among other
statutes, 18 U.S.C. § 922(g)(3), that is, having possession of a firearm or
ammunition by a prohibited individual, namely someone who is an unlawful
user of or addicted to any controlled substance under the Controlled Substances
Act, see 18 U.S.C. §§ 802, et seq.; and

b. Execution of the proposed search warrant will lead to evidence of the above
crime.

6. I have not included all of the information relevant to the investigation in this
Affidavit, but I do not believe that I have omitted any information that would have a tendency to
defeat or negate a showing of probable cause. To the best of my knowledge and belief, all
statements made in this Affidavit are true and correct.

PURPOSE OF THE AFFIDAVIT

7. I submit this Affidavit in support of a search warrant application to search the

following property/residence(s): 3962 Migration Lane, Columbus, Ohio 43230 (the TARGET

PREMISES).
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FACTS ESTABLISHING PROBABLE CAUSE

 

8. On or about November 19, 2020, a Grand Jury in the Southern District of Ohio
returned an Indictment charging HASSAN with conspiring to traffic firearms to Canada from
approximately July of 2018 through approximately the middle part of 2019, all in violation of,
among other statutes, 18 U.S.C. § 922(a)(5), which prohibits the transferring of firearms to persons
not residing in the State where the transferor resides. See Case No. 2:20-cr-209, Southern District
of Ohio. According to the Indictment, HASSAN was one of the leaders of the conspiracy. (See
4/6 in the Manner and Means of the Indictment in the above-described case.) Additionally,
HASSAN was charged with two substantive counts of false statements during the acquisition of
firearms, in violation of 18 U.S.C. §§ 922(a)(6) and 2. It should be noted that the investigation
revealed that the coconspirators, including HASSAN, oftentimes communicated about the
conspiracy using their cell phones.

9. During this investigation, numerous sources of information (SOIs), who have had
direct interactions with HASSAN, have been interviewed. These SOIs, whose information has
been corroborated and are believed by law enforcement to have been truthful, all provide that
HASSAN is a regular user of “Lean” and marijuana, and that he has abused these substances for
years. I am aware, from training and experience, that “Lean” is slang for a prescribed cough syrup
that contains promethazine and codeine, both of which, based upon training and experience, I
understand to be controlled substances under the Controlled Substances Act. The investigation
has indicated that HASSAN is and has been a consistent user of Lean and marijuana, at least during
the past two years.

10. Many of these same SOs indicate that HASSAN sells Lean and marijuana as well.

Based on state tax records received from the Ohio Department of Taxation, HASSAN has not filed
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business taxes for tax years 2015 through 2019; HASSAN filed personal taxes for tax years 2015
and 2016; and HASSAN did not file personal taxes in tax years 2017 and 2018. Approximately
$1,140 was seized from HASSAN when he was arrested. HASSAN asked if could get the money
back, and law enforcement told him that it depended on whether he could show he obtained the
money from legitimate means. HASSAN was also told that law enforcement knows he has not
filed taxes for the past few years and, although HASSAN did not verbally respond, he lowered his
head as if to agree. Additionally, when speaking with law enforcement on November 24, 2020,
HASSAN ’s wife said that she did not work during 2019 and she did not file taxes for 2019, but
that she has worked from April through July 2020.

11. | HASSAN was charged with OVI, a misdemeanor of the first degree, for an offense
that occurred on July 22, 2019. On or about February 26, 2020, HASSAN entered a guilty plea to
reckless operation of a motor vehicle, a misdemeanor of the third degree, in Franklin County
Municipal Court. As part of the sentence for that conviction, HASSAN is on probation through
February 25, 2022.

12. On or about November 24, 2020, HASSAN was arrested pursuant to an arrest
warrant issued regarding the above-named federal firearms-trafficking case indicted on or about
November 19, 2020. HASSAN was arrested at 3962 Migration Lane, Columbus, Ohio 43230, the
TARGET PREMISES, which is the suspected residence of HASSAN, his wife, and his minor
child, all of whom were home when the arrest of HASSAN occurred.

13. During the arrest of HASSAN, pursuant to standard practice for officer safety, law
enforcement performed a protective sweep of the TARGET PREMISES. During the sweep, law
enforcement saw, in plain sight, a Glock manufactured Model 30 Gen 4, .45 caliber pistol in the

kitchen, next to the sink. Next to the Glock pistol was a lanyard that had keys on it, one of which
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appeared to be a key for the residence. It is believed these keys belong to HASSAN because
HASSAN’s wife, who was present when law enforcement initially arrested HASSAN, left the
residence with the minor child, and she did not take the keys that were next to the Glock pistol.
Law enforcement also observed, in plain sight, a prescription bottle of cough syrup that contains
promethazine and codeine (which is used for Lean, as described above) and one baggie of
marijuana, containing two golf-ball sized amounts of marijuana. The prescription cough syrup
and marijuana were found on top of the washing machine, which is in close proximity to the
kitchen. It is estimated that the Glock pistol was approximately 10 feet away from the prescription
cough syrup and marijuana.

14. =‘ The label on the prescription cough syrup bottle observed in plain view contains
notable information. First, although the label exists, the name of the person to whom the
prescription was issued is ripped off of the label. Second, the label indicates that the prescription
cough syrup bottle, which is approximately 1/3 full (i.e. contains approximately 2 ounces), was
filled yesterday, November 23, 2020. Lastly, according to the label, the prescription was filled at
a pharmacy in Mount Vernon, Ohio. Law enforcement called the pharmacy and confirmed
prescribed individual for this prescription was not HASSAN.

15. A firearms nexus expert with ATF has confirmed via a verbal description of the
firearm that the Glock pistol observed in plain view was manufactured outside the State of Ohio
and, therefore, to have been found in Ohio, the Glock pistol must have affected interstate

commerce.
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CONCLUSION
16. Based on the above, probable cause exists to believe that:
a. HASSAN has committed violations of, among other statutes, 18 U.S.C. §
922(g)(3), that is, having possession of a firearm or ammunition by a prohibited
individual, namely a person who is an unlawful user of or addicted to any
controlled substance under the Controlled Substances Act, see 18 U.S.C.
$§ 802, et seq.; and
b. Execution of the proposed search warrant at the TARGET PREMSIES, as
described in Attachment A, will lead to evidence of the above crime.
17. I therefore seek a search warrant authorizing law enforcement to search the
TARGET PREMISES identified in Attachment A, and to seize the items described in Attachment
B hereto, incorporated herein by reference.

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Teresa J. Petit '
Special Agent
Bureau of Alcohol, Tobacco, Firearms, and Explosives

Sworn and subscribed to me this Z 7_ day of

November, 2020. Hai
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CHELSEY M. VASCURA
MAGISTRATE JUDGE

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

 
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ATTACHMENT A
The property to be searched is located at 3962 Migration Lane, Columbus, Ohio 43230,
which is a two-story town house with red brick located within a multi-unit town home complex
that has six town homes per stand-alone structure, and within its six-unit stand-alone structure,
3962 Migration Lane is the second town house from the west (if going west to east, facing north)

with the numbers “3962” on the front door.
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ATTACHMENT B

Probable cause exists to believe that all items contained in the property described in

Attachment A relate to violations of 18 U.S.C. § 922(g)(3), that is, having possession of a firearm

or ammunition by a prohibited individual, namely a person who is an unlawful user of or addicted

to any controlled substance under the Controlled Substances Act, see 18 U.S.C. §§ 802, et seq.,

including, but not limited to the following:

(a)
(b)

(c)

(d)

(¢)

(f)
(g)
(h)

Ammunition and/or firearms;

Records of the acquisition and/or purchase of firearms and/or ammunition;

Any and all documents, records, boxes or indicia related to the purchase, sale,
transfer, transportation, or possession of firearms and/or ammunition;

Log books, records, payment receipts, notes, and/or computer lists, ledgers, sales
tags and other papers relating to the purchasing, ordering, processing, storage,
distribution, and/or use of firearms and/or controlled substances;

Any and all suspected controlled substances or suspected counterfeit controlled
substances;

United States currency;
Any and all cell phones; and
Any other items which constitute evidence of crimes of 18 U.S.C. § 922(g)(3), that

is, possession of a firearm and/or ammunition by a prohibited person, namely, an
unlawful user of or addict to any controlled substance.
